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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6                                         SAN JOSE DIVISION

                                   7

                                   8     UNITED STATES OF AMERICA,                         Case No. 5:18-cr-00258-EJD-1
                                                        Plaintiff,                         ORDER RE DKT. NOS. 1078, 1110,
                                   9
                                                                                           1120, 1307
                                                 v.
                                  10

                                  11     ELIZABETH A. HOLMES,
                                                        Defendant.
                                  12
Northern District of California
 United States District Court




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                                  14          Remaining pending are various administrative motions to seal briefing and/or documents

                                  15   related to the trial against Defendant Elizabeth Holmes. The Court addresses each motion in turn.

                                  16          Dkt. No. 1078

                                  17          Holmes’ Administrative Motion for Leave to File Exhibits Under Seal (Dkt. No. 1078)

                                  18   seeks to seal Exhibits 3 and 6 to Holmes’ Notice of Filing (Dkt. No. 1077). The Court GRANTS

                                  19   the motion as to Exhibit 3, which contains personal medical information and information related to

                                  20   a criminal investigation, but DENIES the motion as to Exhibit 6, which does not directly implicate

                                  21   either the medical information or criminal investigation. The Court further orders that the sealing

                                  22   motion, which was itself filed under seal, be unsealed.

                                  23          Dkt. Nos. 1110 and 1120

                                  24          In connection with the Media Coalition’s motion to unseal the completed juror

                                  25   questionnaires (Dkt. No. 1026), the Court requested supplemental briefing from the parties. Dkt.

                                  26   No. 1088. Holmes and the Media Coalition sought to file their supplemental briefs under seal

                                  27   based on the sealed in camera colloquy that took place with individual jurors on October 12 and

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE DKT. NOS. 1078, 1110, 1120, 1307
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                                         Case 5:18-cr-00258-EJD Document 1446 Filed 05/19/22 Page 2 of 2




                                   1   13, 2021. Dkt. No. 1110 at 2 (requesting sealing of supplemental response until the transcript

                                   2   portions are unsealed); Dkt. No. 1120 at 1 (same). Given the current phase of the case against

                                   3   Holmes and the fact the Court has now released redacted versions of the seated jurors’

                                   4   questionnaires, the constitutional concerns initially at issue are no longer as compelling.

                                   5   Accordingly, the Court will unseal in part the transcripts for the October 12 and 13, 2021

                                   6   proceedings, with limited redactions to maintain juror privacy and security that correspond to the

                                   7   limited redactions made to the juror questionnaires. See Dkt. No. 1151. The Court thus DENIES

                                   8   as moot Holmes’ and the Media Coalition’s motions to seal their supplemental briefs. The Court

                                   9   further orders that the sealing motions, which were themselves filed under seal, be unsealed.

                                  10          Dkt. No. 1307

                                  11          Holmes moves to maintain all original completed juror questionnaires under seal pending

                                  12   potential further litigation. Dkt. No. 1307. No party opposes the motion. The Court finds good
Northern District of California
 United States District Court




                                  13   cause to maintain the unredacted original juror questionnaires under seal and accordingly

                                  14   GRANTS the motion.

                                  15          IT IS SO ORDERED.

                                  16   Dated: May 19, 2022

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                                                                                                     EDWARD J. DAVILA
                                  19                                                                 United States District Judge
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                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE DKT. NOS. 1078, 1110, 1120, 1307
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